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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              WESTERN DIVISION


  UNITED STATES OF AMERICA,               CR 20-50095

               Plaintiff,                 UNITED STATES MOTION FOR
                                          FURTHER BRIEFING BY
       vs.                                DEFENDANT ON MOTION FOR
                                          NEW TRIAL
  CODY WAYNE HOPKINS,

               Defendant.


      The United States of America, by and through Senior Litigation Counsel

Sarah B. Collins, submits the following motion for a Court order requiring further

briefing by the defendant on his motion for a new trial. Dkt. 78. When the

defendant filed his motion, the official transcript had not been filed so his motion

was based on his defense attorney’s “recollection of events as they transpired.”

Since that filing, the Court Reporter filed a transcript of the defendant’s

testimony, the United States’ initial closing argument, the defendant’s closing

argument, and the United States’ rebuttal closing argument. Dkt. 80.

      The United States requests the Court order additional briefing by the

defendant wherein he can cite to specific portions of the transcript rather than

just making broad, general assertions. It is unduly arduous for the United States

to respond to the defendant’s motion when it is unclear which content of the trial

to which he is referring. If the Court so orders, the United States would also

request the Court extend the deadline for the United States’ response.
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    Dated this 26th Day of September, 2022.

                                        ALISON J. RAMSDELL
                                        United States Attorney

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